
FAULKNER, Justice.
This is a petition for writ of mandamus. Mrs. Riggs’s children were allegedly assaulted by a Mobile schoolteacher, Thelma Cook. Mrs. Riggs reported this to the Department of Pensions and Security. The Department investigated, and during the investigation Ms. Cook is alleged to have made admissions of the assault to the Department. .
Mrs. Riggs filed a damage suit against the teacher and the Mobile County school commissioners. Subsequently, she filed a motion to produce all reports, summaries, documented interviews, or other written evidence of any communication to an agent, servant, or employee of the Department of Pensions and Security regarding the Riggs-Cook investigation.
*203The Department moved for a protective order on the ground of confidentiality of the records, citing Code 1975, § 26-14-8. The trial judge, Michael Zoghby, granted the Department’s motion.
The respondent judge declined to have an in camera viewing of the written evidence and ruled that the records were strictly confidential and not subject to perusal by the court or counsel for Mrs. Riggs.
Mrs. Riggs seeks a writ of mandamus to Judge Zoghby, praying that he be ordered to permit her to discover the Department records. We opine that at the very least, the trial judge should conduct an in camera inspection of the subject records and any other written evidence to determine if there is relevant evidence, and, if so, grant Mrs. Riggs the right to discover that evidence from the files of the Department of Pensions and Security. Ex parte Guerdon Industries, Inc., 373 So.2d 322 (Ala.1979).
WRIT OF MANDAMUS GRANTED.
TORBERT, C.J., and ALMON, EMBRY and ADAMS, JJ., concur.
